
100 N.Y.2d 573 (2003)
BENJAMIN SHAPIRO REALTY COMPANY, LLC, Appellant,
v.
KEMPER NATIONAL INSURANCE COMPANIES et al., Respondents.
Court of Appeals of the State of New York.
Submitted May 27, 2003.
Decided July 2, 2003.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that affirmed that part of Supreme Court's order that denied appellant's motion for leave to serve a second amended complaint, dismissed upon the *574 ground that such portion of the order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
